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 6                                 UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8    UNITED STATES OF AMERICA,                          )
                                                         )
 9                          Plaintiff,                   )
                                                         )
10            v.                                         )          2:08-CR-311-RLH (GWF)
                                                         )
11    DANIMYAR DOSUNKULOV,                               )
                                                         )
12                          Defendant.                   )

13                             PRELIMINARY ORDER OF FORFEITURE

14            This Court finds that on February 23, 2011, defendant DANIMYAR DOSUNKULOV pled

15    guilty to Count Ten of a Ten-Count Second Superseding Criminal Indictment charging him with

16    Conspiracy to Commit Money Laundering in violation of Title 18, United States Code, Section

17    1956(h).

18            This Court finds defendant DANIMYAR DOSUNKULOV agreed to the forfeiture of the

19    property set forth in Forfeiture Allegations of the Second Superseding Criminal Indictment.

20            This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of

21    America has shown the requisite nexus between property set forth in the Forfeiture Allegations of the

22    Second Superseding Criminal Indictment and the offense to which defendant DANIMYAR

23    DOSUNKULOV pled guilty.

24            The following assets are subject to forfeiture pursuant to Title 18, United States Code, Section

25    982(a)(1); Title 18, United States Code, Section 981(a)(1)(A) and Title 28, United States Code,

26    ...
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 1    Section 2461(c); and Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States
 2    Code, Section 2461(c):
 3                   a.     Sony Brown 42" Lcd Tv, S/N 1050106;
 4                   b.     Sony Brown 42" Lcd Tv, S/N 1002050;
 5                   c.     Dell Model 1320 Laser Printer, S/N 35rphf1;
 6                   d.     Dell Model 1850 Laser Printer, S/N H1c34091;
 7                   e.     Acer Laptop, S/N Lxal70x043820001ef2513;
 8                   f.     Dell Xps Laptop, S/N 5vg3kd1;
 9                   g.     Apple Mac Laptop, S/N W8807f5dop1;
10                   h.     Hp Laptop, S/N 2ce7222m6q;
11                   i.     Mac Book Air, S/N W8813ppuy51;
12                   j.     Miscellaneous Cards, Cables, Remotes, Controllers, Stands;
13                   k.     3.5 X Drive, Extend Harddrive, S/N 020851;
14                   l.     Apple Tv, S/N 6f8182w04cp;
15                   m.     Wd External Hard Drive, S/N Wxh207674808;
16                   n.     Msr 206 Encoder, S/N A015401;
17                   o.     Psp Portable, S/N Pp865026504-Psp1001;
18                   p.     Psp Portable, S/N At045924040-Psp2001;
19                   q.     Ipod Touch 16 Bg, S/N 1c80167a/4p;
20                   r.     Iphone, S/N 5k81880jwh8;
21                   s.     Iphone, S/N Bcga1241;
22                   t.     Iphone, S/N 5k80247kwh8;
23                   u.     Iphone, S/N 579ca1241;
24                   v.     Sandisk 2 Gb Flashdrive, S/N 2048rb;
25                   w.     Sandisk 4 Gb Flashdrive, S/N 4096rb;
26                   x.     Sandisk 1 Gb Flashdrive, S/N 1024rb;

                                                      2
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 1               y.    Pny Attache 1 Gb Flashdrive, No S/N;
 2               z.    Logitech Mx Revolution Thumbdrive, S/N 810-000412;
 3               aa.   Iron Key Thumbdrive, S/N 0140485;
 4               ab.   Iron Key Thumbdrive, S/N 0140551;
 5               ac.   Dell Xps Tower, S/N 30gzcg1;
 6               ad.   Playstation 3, S/N Ce124062502-Cecha01;
 7               ae.   Playstation 3, S/N Ce514635354-Cechg01;
 8               af.   Xbox 360, S/N 311730682105;
 9               ag.   Xbox 360, No S/N;
10               ah.   1 - Xbox 360 Video Game;
11               ai.   11 - Playstation 3 Video Games;
12               aj.   6 - Psp Games In Case;
13               ak.   35 - Blue Ray Movies;
14               al.   Wtj-90a Tipper;
15               am.   $3,000 Cash (From Gary Ambartsumyan’s room);
16               an.   $4900 Cash (From Artur Ambartsumyan’s room);
17               ao.   $14,802.63 in Money Gram Money Orders;
18               ap.   Mens’ Breitling Bentley Watch, S/N A25362; and
19               aq.   Mens’ Breitling Bentley Watch;
20               ar    counterfeit access device containing unauthorized account information for Visa
21                     debit card account in the name of M.V., account number ending in X-4923;
22               as.   counterfeit access device containing unauthorized account information for Visa
23                     debit card account in the name of G.V., account ending in X-2319;
24               at.   counterfeit access device containing unauthorized account information for Visa
25                     debit card account in the name of C.D., account ending in X-1918;
26    ...

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 1               au.    counterfeit access device containing unauthorized account information for a
 2                      Bank of America Visa debit card account, account ending in X-7119;
 3               av.    counterfeit access device containing unauthorized account information for Bank
 4                      of America Visa debit card account in the name of J.R., account ending in X-
 5                      4609;
 6               aw.    counterfeit access device containing unauthorized account information for a
 7                      Bank of America Visa debit card account in the name of B.J., account ending
 8                      in X-1577;
 9               ax.    counterfeit access device containing unauthorized account information for a
10                      Bank of America Visa debit card account, account ending in X-8491;
11               ay.    counterfeit access device containing unauthorized account information for Bank
12                      of America Visa debit card account, account ending in X-6657;
13               az     counterfeit access device containing unauthorized account information for Bank
14                      of America Visa debit card account, account ending in X-9612;
15               aaa.   counterfeit access device containing unauthorized account information for Bank
16                      of America Visa debit card account in the name of G.S., account ending in X-
17                      2034;
18               aab.   counterfeit access device containing unauthorized account information for Bank
19                      of America Visa debit card account in the name of C.S., account ending in X-
20                      3846;
21               aac.   counterfeit access device containing unauthorized account information for Bank
22                      of America Visa debit card account in the name of S.K., account ending in X-
23                      5010;
24               aad.   counterfeit access device containing unauthorized account information for Bank
25                      of America Visa debit card account in the name of E.H., account ending in X-
26                      4275;

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 1                   aae.   counterfeit access device containing unauthorized account information for Bank
 2                          of America Visa debit card account in the name of B.W., account ending in X-
 3                          7341;
 4                   aaf.   counterfeit access device containing unauthorized account information for Bank
 5                          of America Visa debit card account, account ending in X-3019;
 6                   aag.   counterfeit access device containing unauthorized account information for Bank
 7                          of America Visa debit card account in the name of D.R., account ending in X-
 8                          4018;
 9                   aah.   counterfeit access device containing unauthorized account information for Bank
10                          of America Visa debit card account, account ending in X-7017;
11                   aai.   counterfeit access device containing unauthorized account information for Bank
12                          of America Visa debit card account, account ending in X-6691;
13                   aaj.   counterfeit access device containing unauthorized account information for
14                          Wells Fargo debit card account, number ending in X-4424;
15                   aak.   counterfeit access device containing unauthorized account information for a
16                          Wells Fargo debit card account, account number ending in X-7930;
17                   aal.   counterfeit access device containing unauthorized account information for a
18                          Wells Fargo debit card account, number ending in X-6110;
19                   aam.   2008 White BMW M5, VIN WBSNB93548CX09044;
20                   aan.   2008 Black Mercedes Benz G-500 Wagon, VIN WDCYR49E38X171546;
21                   aao.   2006 Black Quad Cab Dodge Dakota Truck, VIN 1D7HA18286J185015; and
22                   aap.   an in personam criminal forfeiture money judgment of $663,089.35 in United
23                          States Currency
24    (“the property”).
25    ...
26    ...

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 1             This Court finds the United States of America is now entitled to, and should, reduce the
 2    aforementioned property to the possession of the United States of America.
 3             NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the
 4    United States of America should seize the aforementioned property.
 5             IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of
 6    DANIMYAR DOSUNKULOV in the aforementioned property is forfeited and is vested in the United
 7    States of America and shall be safely held by the United States of America until further order of the
 8    Court.
 9             IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America
10    shall publish for at least thirty (30) consecutive days on the official internet government forfeiture
11    website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state
12    the time under the applicable statute when a petition contesting the forfeiture must be filed, and state
13    the name and contact information for the government attorney to be served with the petition, pursuant
14    to Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).
15             IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed
16    with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101.
17             IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,
18    shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the
19    following address at the time of filing:
20                   Michael A. Humphreys
                     Assistant United States Attorney
21                   Daniel D. Hollingsworth
                     Assistant United States Attorney
22                   Lloyd D. George United States Courthouse
                     333 Las Vegas Boulevard South, Suite 5000
23                   Las Vegas, Nevada 89101.
24    ...
25    ...
26    ...

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 1            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein
 2    need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency
 3    following publication of notice of seizure and intent to administratively forfeit the above-described
 4    property.
 5                        7th
              DATED this ______           March
                                day of __________________, 2011.
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 9                                                 UNITED  STATES
                                                   CHIEF UNITED    DISTRICT
                                                                STATES       JUDGE
                                                                       DISTRICT JUDGE

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